         Case 6:23-bk-04797-TPG   Doc 97   Filed 12/11/23   Page 1 of 52




                     UNITED STATES BANKRUPTCY COURT
                        MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION



In re:                                      Chapter 11

9 S & M FOODS, LLC                          Case No. 23-04800 (TPG)

           Debtor.




            SCHEDULES OF ASSETS AND LIABILITIES OF DEBTOR
                 9 S & M FOODS, LLC (CASE NO. 23-04800)
                                 Case 6:23-bk-04797-TPG                        Doc 97       Filed 12/11/23   Page 2 of 52

 Fill in this information to identify the case:

 Debtor name: 9 S & M Foods, LLC

 United States Bankruptcy Court for the: Middle District of Florida
                                                                                                                            Check if this is an
 Case number: 23-04800
                                                                                                                            amended filing


Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals

 1. Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B)
  1a. Real property:                                                                                                                    $0.00
          Copy line 88 from Schedule A/B
  1b. Total personal property:                                                                                                   $110,471.89
          Copy line 91A from Schedule A/B
  1c. Total of all property:                                                                                                     $110,471.89
          Copy line 92 from Schedule A/B


 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)                                                      $0.00
 Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
  3a. Total claim amounts of priority unsecured claims:                                                                           $58,101.83
          Copy the total claims from Part 1 from line 5a of Schedule E/F
  3b. Total amount of claims of nonpriority amount of unsecured claims:                                                          $210,710.57
          Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F


 4. Total Liabilities                                                                                                            $268,812.40
 Lines 2 + 3a + 3b
                                     Case 6:23-bk-04797-TPG                     Doc 97            Filed 12/11/23           Page 3 of 52

   Fill in this information to identify the case:

   Debtor name: 9 S & M Foods, LLC

   United States Bankruptcy Court for the: Middle District of Florida
                                                                                                                                                         Check if this is an
   Case number: 23-04800
                                                                                                                                                         amended filing


 Official Form 206A/B
 Schedule A/B: Assets — Real and Personal Property 12/15

  Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which the
  debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as fully depreciated assets
  or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired
  Leases (Official Form 206G).
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and case
  number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts from the
  attachment in the total for the pertinent part.
  For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or depreciation
  schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured
  claims. See the instructions to understand the terms used in this form.

 Part 1:     Cash and Cash Equivalents

1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.

       Yes. Fill in the information below.

  All cash or cash equivalents owned or controlled by the debtor                                                                        Current value of debtor’s interest

 2. Cash on hand

 2.1
                                                                                                                                                                    $2,000.00

 3. Checking, savings, money market, or financial brokerage accounts (Identify all)
 Name of institution (bank or brokerage firm)                           Type of account                  Last 4 digits of account #


 3.1
           City National Bank                                               CNB Operating Account*       2906                                                       $2,755.30

 * Account in the name of S&M JV, LLC but partial funds belong to Debtor

 4. Other cash equivalents (Identify all)
 4.1
                                                                                                                                                                        $0.00

 5. Total of Part 1
 Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                                                  $4,755.30


 Part 2:     Deposits and prepayments

 6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.

       Yes. Fill in the information below.
Debtor     9 S & M Foods, LLC_______________________________________________________                   Case number (if known) 23-04800________________________________________
           Name
                                      Case 6:23-bk-04797-TPG                       Doc 97           Filed 12/11/23              Page 4 of 52

                                                                                                                                             Current value of debtor’s interest
  7. Deposits, including security deposits and utility deposits
  Description, including name of holder of deposit


  7.1
                                                                                                                                                                            $0.00

  8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
  Description, including name of holder of prepayment


  8.1
            PREPAID LICENSES & PERMITS                                                                                                                                   $220.10

  8.2
            PREPAID OTHER                                                                                                                                             $54,816.87

  9. Total of Part 2
  Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                                                     $55,036.97


  Part 3:     Accounts receivable

  10. Does the debtor have any accounts receivable?

        No. Go to Part 4.

        Yes. Fill in the information below.

                                                                                                                                             Current value of debtor’s interest
  11. Accounts receivable
  11a.      90 days old or                                 $2,683.11       —                                        $0.00   = ........                                 $2,683.11
            less:
                                     face amount                               doubtful or uncollectible accounts

  11b.      Over 90 days old:                                   $0.00      —                                        $0.00   = ........                                     $0.00

                                     face amount                               doubtful or uncollectible accounts

  12. Total of Part 3
  Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                                                      $2,683.11


  Part 4:     Investments

  13. Does the debtor own any investments?

        No. Go to Part 5.

        Yes. Fill in the information below.


                                                                                                Valuation method used for current            Current value of debtor’s interest
                                                                                                value
  14. Mutual funds or publicly traded stocks not included in Part 1
  Name of fund or stock:


  14.1
                                                                                                                                                                            $0.00
Debtor     9 S & M Foods, LLC_______________________________________________________              Case number (if known) 23-04800________________________________________
           Name
                                    Case 6:23-bk-04797-TPG                      Doc 97           Filed 12/11/23          Page 5 of 52
  15. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
  partnership, or joint venture
  Name of entity:                                           % of ownership:


  15.1
                                                                                                                                                                      $0.00

  16. Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
  Describe:


  16.1
                                                                                                                                                                      $0.00

  17. Total of Part 4
  Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                                     $0.00


  Part 5:       Inventory, excluding agriculture assets

  18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.

     Yes. Fill in the information below.


   General description                                        Date of        Net book value of            Valuation method used        Current value of debtor’s interest
                                                              the last       debtor's interest            for current value
                                                              physical       (Where available)
                                                              inventory
  19. Raw materials
  19.1
                                                                                                                                                                      $0.00

  20. Work in progress
  20.1
                                                                                                                                                                      $0.00

  21. Finished goods, including goods held for resale
  21.1
                                                                                                                                                                      $0.00

  22. Other inventory or supplies
  22.1
               Food Inventory                                11/6/2023                 $11,008.33       Cost                                                    $11,008.33

  23. Total of Part 5
  Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                                               $11,008.33


  24. Is any of the property listed in Part 5 perishable?

     No

     Yes

  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
                       Book value           $11,008.33            Valuation method   Cost                                  Current value   Undetermined
         Yes

  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

     No

     Yes
Debtor     9 S & M Foods, LLC_______________________________________________________                 Case number (if known) 23-04800________________________________________
           Name
                                    Case 6:23-bk-04797-TPG                         Doc 97           Filed 12/11/23          Page 6 of 52
  Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)

  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No. Go to Part 7.

     Yes. Fill in the information below.


   General description                                                          Net book value of            Valuation method used       Current value of debtor’s interest
                                                                                debtor's interest            for current value
                                                                                (Where available)
  28. Crops—either planted or harvested
  28.1
                                                                                                                                                                        $0.00

  29. Farm animals Examples: Livestock, poultry, farm-raised fish
  29.1
                                                                                                                                                                        $0.00

  30. Farm machinery and equipment (Other than titled motor vehicles)
  30.1
                                                                                                                                                                        $0.00

  31. Farm and fishing supplies, chemicals, and feed
  31.1
                                                                                                                                                                        $0.00

  32. Other farming and fishing-related property not already listed in Part 6
  32.1
                                                                                                                                                                        $0.00

  33. Total of Part 6
  Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                                                       $0.00


  34. Is the debtor a member of an agricultural cooperative?

         No

         Yes. Is any of the debtor’s property stored at the cooperative?

                        No

                        Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

         No
                   Book value                                       Valuation method                                        Current value
         Yes

  36. Is a depreciation schedule available for any of the property listed in Part 6?

     No

     Yes

  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No

     Yes
Debtor    9 S & M Foods, LLC_______________________________________________________                           Case number (if known) 23-04800________________________________________
          Name
                                      Case 6:23-bk-04797-TPG                              Doc 97           Filed 12/11/23                 Page 7 of 52
  Part 7:    Office furniture, fixtures, and equipment; and collectibles

  38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.

     Yes. Fill in the information below.

   General description                                                                Net book value of                 Valuation method used            Current value of debtor’s interest
                                                                                      debtor's interest                 for current value
                                                                                      (Where available)
  39. Office furniture
  39.1
            Furnitures & Fixtures                                                                 $31,364.21          Net Book Value                                                  $31,364.21

  40. Office fixtures
  40.1
                                                                                                                                                                                            $0.00

  41. Office equipment, including all computer equipment and communication systems equipment and software
  41.1
                                                                                                                                                                                            $0.00

  42. Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card collections; other
  collections, memorabilia, or collectibles

  42.1
                                                                                                                                                                                            $0.00

  43. Total of Part 7
  Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                                                                    $31,364.21


  44. Is a depreciation schedule available for any of the property listed in Part 7?

     No

     Yes

  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No

     Yes

  Part 8:    Machinery, equipment, and vehicles

  46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.

     Yes. Fill in the information below.


   General description                                                                Net book value of                 Valuation method used            Current value of debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,                  debtor's interest                 for current value
   HIN, or N-number)                                                                  (Where available)
  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
  47.1
                                                                                                                                                                                            $0.00

  48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors, floating homes, personal watercraft, and fishing vessels
  48.1
                                                                                                                                                                                            $0.00
Debtor    9 S & M Foods, LLC_______________________________________________________                  Case number (if known) 23-04800________________________________________
          Name
                                   Case 6:23-bk-04797-TPG                         Doc 97          Filed 12/11/23              Page 8 of 52
  49. Aircraft and accessories
  49.1
                                                                                                                                                                            $0.00

  50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)
  50.1
  Equipment                                                                               $46,362.14        Net Book Value               Undetermined

  51. Total of Part 8.
  Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                                                       $0.00


  52. Is a depreciation schedule available for any of the property listed in Part 8?

     No

     Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

     No

     Yes

  Part 9:    Real Property

  54. Does the debtor own or lease any real property?

     No. Go to Part 10.

     Yes. Fill in the information below.

  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

   Description and location of property                         Nature and extent of          Net book value of              Valuation method used      Current value of
   Include street address or other description such as          debtor’s interest in          debtor's interest              for current value          debtor’s interest
   Assessor Parcel Number (APN), and type of property           property                      (Where available)
   (for example, acreage, factory, warehouse,
   apartment or office building), if available.

  55.1
            Leasehold Improvements                            Leased Property                           $125,439.13       N/A                           Undetermined


  55.2
            See Schedule AB 55 Attachment for List of         Leased Property                                  $0.00      N/A                           Undetermined
            Leased Real Property Locations

  56. Total of Part 9.
  Add the current value of all lines in question 55 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                                                       $0.00


  57. Is a depreciation schedule available for any of the property listed in Part 9?

     No

     Yes

  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?

     No

     Yes
Debtor    9 S & M Foods, LLC_______________________________________________________                 Case number (if known) 23-04800________________________________________
          Name
                                    Case 6:23-bk-04797-TPG                       Doc 97           Filed 12/11/23             Page 9 of 52
  Part 10:       Intangibles and intellectual property

  59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.

     Yes. Fill in the information below.


   General description                                                        Net book value of             Valuation method used        Current value of debtor’s interest
                                                                              debtor's interest             for current value
                                                                              (Where available)
  60. Patents, copyrights, trademarks, and trade secrets
  60.1
                                                                                                                                                                        $0.00

  61. Internet domain names and websites
  61.1
                                                                                                                                                                        $0.00

  62. Licenses, franchises, and royalties
  62.1
             Franchise Agreements - See Schedule G                                       $16,931.11         N/A                          Undetermined

  63. Customer lists, mailing lists, or other compilations
  63.1
                                                                                                                                                                        $0.00

  64. Other intangibles, or intellectual property
  64.1
                                                                                                                                                                        $0.00

  65. Goodwill
  65.1
                                                                                                                                                                        $0.00

  66. Total of Part 10.

  Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                                                       $0.00


  67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

     No

     Yes

  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?

     No

     Yes

  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?

     No

     Yes

  Part 11:       All other assets

  70. Does the debtor own any other assets that have not yet been reported on this form?
  Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.

     Yes. Fill in the information below.
Debtor   9 S & M Foods, LLC_______________________________________________________                    Case number (if known) 23-04800________________________________________
         Name
                                 Case 6:23-bk-04797-TPG                        Doc 97            Filed 12/11/23                Page 10 of 52

                                                                                                                                          Current value of debtor’s interest
  71. Notes receivable
  Description (include name of obligor)
  71.1
                                                                                                                           =                                            $0.00
                                                                                         -
                                              total face amount                              doubtful or uncollectible
                                                                                             amount

  72. Tax refunds and unused net operating losses (NOLs)
  Description (for example, federal, state, local)
  72.1
                                                                                                      Tax year                                                           $0.00

  73. Interests in insurance policies or annuities
  73.1
          Crime/Workplace Violence                                                                                                       Undetermined

  73.2
          Excess Property                                                                                                                Undetermined

  73.3
          Food Contamination E&O (2-year)                                                                                                Undetermined

  73.4
          General Liability                                                                                                              Undetermined

  73.5
          Property                                                                                                                       Undetermined

  73.6
          Terrorism - Lloyds of London                                                                                                   Undetermined

  73.7
          Umbrella $10M                                                                                                                  Undetermined


  73.8
          United Healthcare                                                                                                              Undetermined


  73.9
          Workers Compensation                                                                                                           Undetermined

  74. Causes of action against third parties (whether or not a lawsuit has been filed)
  74.1
                                                                                                                                                                         $0.00
  Nature of Claim

  Amount requested

  75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the debtor and rights to set off claims
  75.1
           S&M JV, LLC                                                                                                                   Undetermined
  Nature of Claim                    Potential Intercompany Balance
  Amount requested                   Unliquidated


  75.2
           SB Group Holdings, LLC                                                                                                        Undetermined

  Nature of Claim                    Potential Intercompany Balance
  Amount requested                   Unliquidated
Debtor    9 S & M Foods, LLC_______________________________________________________                Case number (if known) 23-04800________________________________________
          Name
                                  Case 6:23-bk-04797-TPG                       Doc 97          Filed 12/11/23             Page 11 of 52

  75.3
             SBG MCA, LLC                                                                                                             Undetermined

  Nature of Claim                     Potential Intercompany Balance
  Amount requested                    Unliquidated


  75.4
             Starboard Group Employment Services                                                                                      Undetermined
  Nature of Claim                     Employee Retention Tax Credit

  Amount requested                    Unliquidated

  75.5
             Starboard Group Employment Services                                                                                      Undetermined
  Nature of Claim                     Potential Intercompany Balance
  Amount requested                    Unliquidated


  75.6
             Starboard Group of Alabama, LLC                                                                                          Undetermined

  Nature of Claim                     Potential Intercompany Balance

  Amount requested                    Unliquidated

  75.7
             Starboard Group of Tampa II, LLC                                                                                         Undetermined
  Nature of Claim                     Potential Intercompany Balance

  Amount requested                    Unliquidated

  75.8
             Starboard with Cheese, LLC                                                                                               Undetermined

  Nature of Claim                     Potential Intercompany Balance
  Amount requested                    Unliquidated

  76. Trusts, equitable or future interests in property
  76.1
                                                                                                                                                                    $0.00

  77. Other property of any kind not already listed Examples: Season tickets, country club membership
  77.1
             QSCC Rebate                                                                                                                                        $5,623.97

  78. Total of Part 11.
  Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                                               $5,623.97


  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?

     No

     Yes

  Part 12:       Summary

    In Part 12 copy all of the totals from the earlier parts of the form.

   Type of property                                                          Current value of              Current value of real
                                                                             personal property             property

  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                 $4,755.30

  81. Deposits and prepayments. Copy line 9, Part 2.                                    $55,036.97
Debtor    9 S & M Foods, LLC_______________________________________________________            Case number (if known) 23-04800________________________________________
          Name
                                    Case 6:23-bk-04797-TPG                    Doc 97     Filed 12/11/23              Page 12 of 52

  82. Accounts receivable. Copy line 12, Part 3.                                    $2,683.11


  83. Investments. Copy line 17, Part 4.                                                $0.00

  84. Inventory. Copy line 23, Part 5.                                             $11,008.33


  85. Farming and fishing-related assets. Copy line 33, Part 6.                         $0.00

  86. Office furniture, fixtures, and equipment; and collectibles. Copy            $31,364.21
  line 43, Part 7.

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                         $0.00


  88. Real property. Copy line 56, Part 9.                                                                           $0.00

  89. Intangibles and intellectual property.. Copy line 66, Part 10.                    $0.00


  90. All other assets. Copy line 78, Part 11.                                      $5,623.97

  91. Total. Add lines 80 through 90 for each column                   91a.                                       91b.
                                                                                 $110,471.89                                                         $0.00


  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.
                                                                                                                                                         $110,471.89
                    Case 6:23-bk-04797-TPG                      Doc 97           Filed 12/11/23          Page 13 of 52
                                                        SCHEDULE AB 55 ATTACHMENT
                                                            Leased Real Property


Debtor Name                                 Leased Location Number and Address
7 S&M Foods, LLC                            Location No. 612 -- 16056 U.S. 280, Chelsea, AL, 35043
9 S&M Foods, LLC                            Location No. 615 -- 1600 County Road 437, Good Hope, AL, 35055
10 S&M Foods, LLC                           Location No. 616 -- 602 Hwy 80 E, Demopolis, AL, 36732
Starboard Group of Alabama, LLC             Location No. 601 -- 204 15th Street East, Tuscaloosa, AL, 35401
Starboard Group of Alabama, LLC             Location No. 602 -- 1920 McFarland Boulevard, Northport, AL, 35476
Starboard Group of Alabama, LLC             Location No. 603 -- 2045 Village Drive, Leeds, AL, 35094
Starboard Group of Alabama, LLC             Location No. 604 -- 5018 Oscar Baxter Drive, Tuscaloosa, AL, 35405
Starboard Group of Alabama, LLC             Location No. 605 -- 150 Leon Smith Parkway, Oxford, AL, 36203
Starboard Group of Alabama, LLC             Location No. 606 -- 75 Tower Road, Oxford, AL, 36203
Starboard Group of Alabama, LLC             Location No. 607 -- 419 Pelham Road North, Jacksonville, AL, 36265
Starboard Group of Alabama, LLC             Location No. 608 -- 5801 Alabama 157, Cullman, AL, 35058
Starboard Group of Alabama, LLC             Location No. 609 -- 4422 Old Birmingham Highway, Tuscaloosa, AL, 35404
Starboard Group of Alabama, LLC             Location No. 610 -- 170 Vaughan Lane, Pell City, AL, 35125
Starboard Group of Alabama, LLC             Location No. 611 -- 10341 Alabama 5, Brent, AL, 35034
Starboard Group of Southeast Florida, LLC   Location No. 401 -- 4950 Linton Boulevard, Delray Beach, FL, 33445
Starboard Group of Southeast Florida, LLC   Location No. 402 -- 1197 South Military Trail, Deerfield Beach, FL, 33442
Starboard Group of Southeast Florida, LLC   Location No. 403 -- 6375 West Sample Road, Coral Springs, FL, 33067
Starboard Group of Southeast Florida, LLC   Location No. 404 -- 10050 West Sample Road, Coral Springs, FL, 33065
Starboard Group of Southeast Florida, LLC   Location No. 405 -- 9960 West Oakland Park Boulevard, Sunrise, FL, 33351
Starboard Group of Southeast Florida, LLC   Location No. 406 -- 4676 North University Drive, Coral Springs, FL, 33067
Starboard Group of Southeast Florida, LLC   Location No. 407 -- 11925 Northwest 27th Place, Miami, FL, 33167
Starboard Group of Southeast Florida, LLC   Location No. 408 -- 831 Yamato Road, Boca Raton, FL, 33431
Starboard Group of Southeast Florida, LLC   Location No. 409 -- 14900 Southwest 31st Street, Miramar, FL, 33027
Starboard Group of Southeast Florida, LLC   Location No. 410 -- 7560 Florida 860, Hialeah, FL, 33015
Starboard Group of Southeast Florida, LLC   Location No. 411 -- 15020 Jog Road, Delray Beach, FL, 33446
Starboard Group of Southeast Florida, LLC   Location No. 412 -- 1515 Northwest 7th Street, Miami, FL, 33125
Starboard Group of Space Coast, LLC         Location No. 451 -- 4435 Northlake Boulevard, Palm Beach Gardens, FL, 33410
Starboard Group of Space Coast, LLC         Location No. 453 -- 398 Southeast Port Saint Lucie Boulevard, Port St. Lucie, FL, 34984
Starboard Group of Space Coast, LLC         Location No. 454 -- 10246 South Federal Highway, Port St. Lucie, FL, 34952
Starboard Group of Space Coast, LLC         Location No. 455 -- 4900 S. Federal Highway, Fort Pierce, FL, 34982
Starboard Group of Space Coast, LLC         Location No. 456 -- 2309 South US Highway 1, Fort Pierce, FL, 34950
Starboard Group of Space Coast, LLC         Location No. 457 -- 1841 North 4th Street, Fort Pierce, FL, 34946
Starboard Group of Space Coast, LLC         Location No. 458 -- 890 U.S. 1, Vero Beach, FL, 32962
Starboard Group of Space Coast, LLC         Location No. 459 -- 6210 20th Street, Vero Beach, FL, 32966
Starboard Group of Space Coast, LLC         Location No. 460 -- 1154 Malabar Road, Malabar, FL, 32907
Starboard Group of Space Coast, LLC         Location No. 461 -- 135 Palm Bay Road Northeast, West Melbourne, FL, 32904
Starboard Group of Space Coast, LLC         Location No. 462 -- 1755 Palm Bay Road Northeast, Palm Bay, FL, 32905
Starboard Group of Space Coast, LLC         Location No. 463 -- 2650 West New Haven Avenue, Melbourne, FL, 32904
Starboard Group of Space Coast, LLC         Location No. 465 -- 205 South Miramar Avenue, Indialantic, FL, 32903
Starboard Group of Space Coast, LLC         Location No. 466 -- 395 East Eau Gallie Boulevard, Melbourne, FL, 32901
Starboard Group of Space Coast, LLC         Location No. 467 -- 4150 North Wickham Road, Melbourne, FL, 32935
Starboard Group of Space Coast, LLC         Location No. 468 -- 8245 North Wickham Road, Melbourne, FL, 32940
Starboard Group of Space Coast, LLC         Location No. 469 -- 648 Barnes Boulevard, Rockledge, FL, 32955
Starboard Group of Space Coast, LLC         Location No. 471 -- 10 West Merritt Island Causeway, Merritt Island, FL, 32952
Starboard Group of Space Coast, LLC         Location No. 472 -- 8440 Astronaut Boulevard, Cape Canaveral, FL, 32920
Starboard Group of Space Coast, LLC         Location No. 473 -- 3323 Columbia Boulevard, Titusville, FL, 32780
Starboard Group of Space Coast, LLC         Location No. 475 -- 3000 Garden Street, Titusville, FL, 32780
Starboard Group of Space Coast, LLC         Location No. 476 -- 950 North Wickham Road, Melbourne, FL, 32935
Starboard Group of Tampa II, LLC            Location No. 509 -- 13712 North 30th Street, Tampa, FL, 33613
Starboard Group of Tampa II, LLC            Location No. 510 -- 6024 County Road 579, Seffner, FL, 33584
Starboard Group of Tampa II, LLC            Location No. 514 -- 3601 West Hillsborough Avenue, Tampa, FL, 33614
Starboard Group of Tampa, LLC               Location No. 501 -- 1507 East Fowler Avenue, Tampa, FL, 33612
Starboard Group of Tampa, LLC               Location No. 502 -- 8330 North Florida Ave, Tampa, FL, 33604
Starboard Group of Tampa, LLC               Location No. 504 -- 1501 East Hillsborough Avenue, Tampa, FL, 33610
Starboard Group of Tampa, LLC               Location No. 505 -- 5658 Gall Boulevard, Zephyrhills, FL, 33540
Starboard Group of Tampa, LLC               Location No. 506 -- 13135 U.S. 301, Dade City, FL, 33525
Starboard Group of Tampa, LLC               Location No. 507 -- 13119 North Dale Mabry Hwy, Tampa, FL, 33618
Starboard Group of Tampa, LLC               Location No. 508 -- 6620 East Doctor Martin Luther King Junior Boulevard, Tampa, FL, 33619
Starboard Group of Tampa, LLC               Location No. 511 -- 1615 West Kennedy Boulevard, Tampa, FL, 33606
Starboard Group of Tampa, LLC               Location No. 512 -- 13565 Cypress Glen Lane, Tampa, FL, 33637
Starboard Group of Tampa, LLC               Location No. 513 -- 19430 Bruce B Downs Boulevard, Tampa, FL, 33647
Starboard with Cheese, LLC                  Location No. 701 -- 412 East Walnut Street, Carbondale, IL, 62901
Starboard with Cheese, LLC                  Location No. 702 -- 2 Cieten Plaza, Barry, IL, 62312
Starboard with Cheese, LLC                  Location No. 703 -- 314 U.S. 61, Hannibal, MO, 63401
Starboard with Cheese, LLC                  Location No. 704 -- 801 Marion City Road, Palmyra, MO, 63461
Starboard with Cheese, LLC                  Location No. 705 -- 3530 Broadway Street, Quincy, IL, 62301
Starboard with Cheese, LLC                  Location No. 706 -- 1250 Toronto Road, Springfield, IL, 62712
Starboard with Cheese, LLC                  Location No. 707 -- 1209 Broadway Avenue, Mattoon, IL, 61938
Starboard with Cheese, LLC                  Location No. 708 -- 505 South Deerfield Road, Pontiac, IL, 61764
Starboard with Cheese, LLC                  Location No. 709 -- 2360 Westowne Avenue, Oshkosh, WI, 54904
Starboard with Cheese, LLC                  Location No. 710 -- 3300 South Oneida Street, Appleton, WI, 54915
Starboard with Cheese, LLC                  Location No. 711 -- 3815 West Wisconsin Avenue, Appleton, WI, 54914




                                                                   Page 1 of 1
                                    Case 6:23-bk-04797-TPG                        Doc 97           Filed 12/11/23          Page 14 of 52

  Fill in this information to identify the case:

  Debtor name: 9 S & M Foods, LLC

  United States Bankruptcy Court for the: Middle District of Florida
                                                                                                                                                            Check if this is an
  Case number: 23-04800
                                                                                                                                                            amended filing


Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible.

Part 1:     List Creditors Who Have Claims Secured by Property

1. Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor`s other schedules. Debtor has nothing else to report on this form.

      Yes. Fill in the information below.

2. List creditors who have secured claims.If a creditor has more than one secured claim, list the creditor   Column A                              Column B
separately for each claim.
                                                                                                             Amount of Claim                       Value of collateral that
                                                                                                             Do not deduct the value of            supports this claim
                                                                                                             collateral.

2.1
                                                        Describe debtor's property that is subject to                              $0.00
                                                        the lien:
           Date debt was incurred?

                                                        Describe the lien
           Last 4 digits of account number

                                                        Is the creditor an insider or related party?
           Do multiple creditors have an interest
                                                           No
           in the same property?
               No                                          Yes

                                                        Is anyone else liable on this claim?
               Yes. Specify each creditor, including
                                                           No
          this creditor, and its relative priority.
                                                           Yes. Fill out Schedule H: Codebtors(Official

                                                       Form 206H)
                                                        As of the petition filing date, the claim is:
                                                        Check all that apply.
                                                             Contingent

                                                             Unliquidated

                                                             Disputed


3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                            $0.00
Page, if any.
Debtor   9 S & M Foods, LLC_______________________________________________________                Case number (if known) 23-04800________________________________________
         Name
                                 Case 6:23-bk-04797-TPG                        Doc 97          Filed 12/11/23             Page 15 of 52
  Part 2:   List Others to Be Notified for a Debt That You Already Listed

  List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies, assignees of
  claims listed above, and attorneys for secured creditors.
  If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
   Name and address                                                                         On which line in Part 1 did you enter       Last 4 digits of account number for
                                                                                            the related creditor?                       this entity

  3.1
                                    Case 6:23-bk-04797-TPG                         Doc 97         Filed 12/11/23               Page 16 of 52

  Fill in this information to identify the case:

  Debtor name: 9 S & M Foods, LLC

  United States Bankruptcy Court for the: Middle District of Florida
                                                                                                                                                               Check if this is an
  Case number: 23-04800
                                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims. List
the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and Personal
Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes
on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:     List All Creditors with PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

      No. Go to Part 2.

      Yes. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with priority unsecured
claims, fill out and attach the Additional Page of Part 1.

                                                                                                                              Total claim                    Priority amount

2.1
                                                                         As of the petition filing date, the claim is:                   $58,101.83                     $58,101.83
           See Schedule E Attachment                                     Check all that apply.
                                                                              Contingent
           Date or dates debt was incurred
                                                                              Unliquidated

           Last 4 digits of account number                                    Disputed

                                                                         Basis for the claim:
           Specify Code subsection of PRIORITY unsecured
           claim:
                                                                         Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )
                                                                             No

                                                                             Yes
Debtor   9 S & M Foods, LLC_______________________________________________________                         Case number (if known) 23-04800________________________________________
         Name
                                    Case 6:23-bk-04797-TPG                           Doc 97           Filed 12/11/23               Page 17 of 52
  Part 2:   List All Creditors with NONPRIORITY Unsecured Claims

  3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill out and attach the
  Additional Page of Part 2.

                                                                                                                                                                  Amount of claim

  3.1
                                                                                               As of the petition filing date, the claim is:                                $210,710.57
            See Schedule F Attachment                                                          Check all that apply.
                                                                                                    Contingent
            Date or dates debt was incurred
                                                                                                    Unliquidated

                                                                                                    Disputed

                                                                                               Basis for the claim:


                                                                                               Is the claim subject to offset?
                                                                                                   No

                                                                                                   Yes

  Part 3:   List Others to Be Notified About Unsecured Claims

  4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees of claims
  listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.
   Name and mailing address                                                                        On which line in Part 1 or Part 2 is the related               Last 4 digits of
                                                                                                   creditor (if any) listed?                                      account number, if any

  4.1
                                                                                                  Line



                                                                                                         Not listed. Explain



  Part 4:   Total Amounts of the Priority and Nonpriority Unsecured Claims

  5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                                                  Total of claim amounts

  5a. Total claims from Part 1                                                                                                            5a.                                $58,101.83

  5b. Total claims from Part 2                                                                                                            5b.                               $210,710.57
  5c. Total of Parts 1 and 2                                                                                                              5c.
                                                                                                                                                                           $268,812.40
  Lines 5a + 5b = 5c.
                                                            Case 6:23-bk-04797-TPG SCHEDULE
                                                                                     Doc 97        Filed 12/11/23
                                                                                            E ATTACHMENT
                                                                                                                                                       Page 18 of 52
                                                                                                   Creditors Who Have Priority Unsecured Claims




                                                                                                                                                                                                       Unliquidated
                                                                                                                                                                                          Contingent
                                                                                                                                                Specify Code Subsection                                                          Is the Claim




                                                                                                                                                                                                                      Disputed
                                                                                                                                                 Of Priority Unsecured                                                            Subject to
                                                                                                                               Last 4 Digits of          Claim:                                                                     Offset?
  ID    Creditor's Name                                   Address 1                City         State ZIP        Date Incurred   Account #        11 U.S.C. §507(a)(__) Basis for Claim                                            (Yes/No)   Total Claim Priority Amount
2.001   [AGGREGATE PREPETITION WAGES]                                                                               Various                                 4           Wage Claims         X                                         No        23,991.37       23,991.37
2.002   ALABAMA DEPARTMENT OF REVENUE                     50 N RIPLEY ST           MONTGOMERY AL      36130         Various                                 8           Tax Claim           X             X                           No      Undetermined   Undetermined
2.003   BECKY NORDGREN - REVENUE COLLECTOR                ETOWAH COUNTY COURTHOUSE GADSDEN      AL    35901-3641    Various                                 8           Tax Claim                         X             X             No        10,062.08       10,062.08
2.004   DEPARTMENT OF TREASURY - INTERNAL REVENUE SERVICE PO BOX 7346              PHILADELPHIA PA    19101-7346    Various                                 8           Tax Claim           X             X                           No      Undetermined   Undetermined
2.005   DON ARMSTRONG, PROPERTY TAX COMMISSIONER          P.O. BOX 1298            COLUMBIANA AL      35051         Various                                 8           Tax Claim                         X             X             No        24,048.38       24,048.38

TOTAL                                                                                                                                                                                                                                           58,101.83      58,101.83




                                                                                                                   Page 1 of 1
                                                                       Case 6:23-bk-04797-TPG                              Doc 97
                                                                                                                           SCHEDULE F ATTACHMENT
                                                                                                                                                 Filed 12/11/23                       Page 19 of 52
                                                                                                                 Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                                                                                                Contingent
                                                                                                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                                                                                                            Disputed
                                                                                                                                                                                                                                                                                                        Subject to
                                                                                                                                                                                                                      Last 4 Digits                                                                       Offset?
  ID Creditor's Name                            Attention                        Address 1                                 Address 2                                City              State ZIP         Date Incurred of Account # Basis for Claim                                                       (Yes/No)     Total Claim
3.001 23RD GROUP, LLC.                                                           4944 PARKWAY PLAZA BLVD                                                            CHARLOTTE         NC    28217                                   Trade Payable                                                           No              657.00
3.002 ALABAMA DEPARTMENT OF TRANSPORTATION                                       6480 2ND AVENUE WEST                                                               ONEONTA           AL    35121                                   Trade Payable                                                           No           1,400.00
3.003 ALABAMA POWER                                                              P.O. BOX 242                                                                       BIRMINGHAM        AL    35292                                   Trade Payable                                                           No              378.91
3.004 ARES HOLDINGS, LLC                                                         1045 S JOHN RODES BLVD                                                             MELBOURNE         FL    32904                                   Trade Payable                                                           No          15,417.18
3.005 AYDELOTT EQUIPMENT, INC.                                                   119 COMPARK ROAD                                                                   CENTERVILLE       OH    45459                                   Trade Payable                 X                                         No           2,437.88
3.006 BAMA AIR SYSTEMS MECHANICAL                                                78 LINDSEY ROAD                                                                    CULLMAN           AL    35055                                   Trade Payable                                                           No                0.00
      CONTRACTORS, INC.
3.007 BAMA BURGERS, LLC                                                          [NOT PROVIDED]                                                                                                                                    Trade Payable                                                           No           25,494.54
3.008 BARCO UNIFORMS                                                             350 W ROSECRANS AVENUE                                                             GARDENA           CA   90248                                   Trade Payable                                                           No                 0.00
3.009 BER-VEL DISTRIBUTING CO.                                                   PO BOX 175                                                                         PINSON            AL   35126                                   Trade Payable                                                           No           10,149.01
3.010 BEST RESTAURANT SOLUTIONS, LLC.                                            1931 CORDOVA ROAD #165                                                             FORT LAUDERDALE   FL   33316                                   Trade Payable                                                           No            2,347.00
3.011 BIMBO QSR OHIO, LLC                                                        28424 NETWORK PLACE                                                                CHICAGO           IL   60673-1284                              Trade Payable                  X                                        No            6,246.48
3.012 BLACKBELT OUTDOOR ADVERTISING, LLC.                                        PO BOX 3                                                                           MARION JUNCTION   AL   36759                                   Trade Payable                                                           No            1,250.00
3.013 BLACKSTONE MECHANICAL CORP                                                 111 TOWN SQUARE PLACE                                                              JERSEY CITY       NJ   07310                                   Trade Payable                                                           No           10,334.12
3.014 BONDED FILTER CO.                                                          PO BOX 676221                                                                      DALLAS            TX   75267-6221                              Trade Payable                                                           No              270.00
3.015 CD MAINTENANCE COMPANY, INC               ATTN: LEGAL DEPARTMENT           525 TECHNOLOGY PARK SUITE 125                                                      LAKE MARY         FL   32746                                   Trade Payable                                                           No            4,884.27
3.016 COMCAST BUSINESS                                                           PO BOX 70219                                                                       PHILADELPHIA      PA   19176-0219                              Trade Payable                                                           No                 0.00
3.017 COMCAST CABLE                                                              PO BOX 71211                                                                       CHARLOTTE         NC   28272-1211                              Trade Payable                                                           No              240.42
3.018 COMMAND7, LLC                                                              PO BOX 92267                                                                       LAS VEGAS         NV   89193-2267                              Trade Payable                                                           No            1,630.09
3.019 CULLMAN APPLIANCE REPAIR, LLC                                              500 MAIN AVE SW #2455                                                              CULLMAN           AL   35055                                   Trade Payable                                                           No           11,403.35
3.020 CULLMAN ELECTRIC COOPERATIVE                                               PO BOX 1168                                                                        CULLMAN           AL   35056-1168                              Trade Payable                                                           No            8,913.00
3.021 D & B LAWN SERVICES                                                        PO BOX 755                                                                         JACKSONVILLE      AL   36201                                   Trade Payable                                                           No            2,800.00
3.022 DAVE THOMAS FOUNDATION FOR ADOPTION                                        4900 TUTTLE CROSSING BLVD                                                          DUBLIN            OH   43016                                   Donations Payable                                                       No            1,456.00
3.023 DEMOPOLIS WATER WORKS & SEWER BOARD                                        P.O. BOX 350                                                                       DEMOPOLIS         AL   36732-0350                              Trade Payable                                                           No                 0.00
3.024 ECOLAB (PEST ELIMINATION)                                                  26252 NETWORK PLACE                                                                CHICAGO           IL   60673-1262                              Trade Payable                  X                                        No            1,698.25
3.025 ECOLAB, INC.                                                               PO BOX 70343                                                                       CHICAGO           IL   60673                                   Trade Payable                  X                                        No              143.64
3.026 EDC FACILITIES MAINTENANCE, LLC                                            150 DOG TRACK ROAD                                                                 LONGWOOD          FL   32750                                   Trade Payable                                                           No            4,292.00
3.027 FLOWERS BAKING CO. OF BIRINGHAM                                            PO BOX 101030                                                                      ATLANTA           GA   30392                                   Trade Payable                                                           No                 0.00
3.028 FOX GLASS                                                                  1035 TIFFORD LANE                                                                  OSTEEN            FL   32764                                   Trade Payable                                                           No              372.50
3.029 FRANKLIN MACHINE PRODUCTS                                                  PO BOX 74007311                                                                    CHICAGO           IL   60674-7311                              Trade Payable                  X                                        No                 0.00
3.030 GASKEY GUY. LLC                                                            DEPT 5995                                                                          BIRMINGHAM        AL   35246-5995                              Trade Payable                                                           No              760.00
3.031 HYLAND FILTER SERVICE, INC.                                                1010 EAST 6TH STREET                                                               OWENSBORO         KY   42303                                   Trade Payable                                                           No                90.38
3.032 KEMCO FACILITIES SERVICES, LLC                                             5750 BELL CIRCLE                                                                   MONTGOMERY        AL   36116                                   Trade Payable                                                           No                 0.00
3.033 LIFE SAFETY ENGINEERED SYSTEMS, INC       ATTN: ANGEL VEZINA, CEO          60 SONWIL DRIVE                                                                    BUFFALO           NY   14225                                   Trade Payable                  X                                        No            3,766.40
3.034 LIQUID ENVIRONMENTAL SOLUTIONS                                             PO BOX 733372                                                                      DALLAS            TX   75373-3372                              Trade Payable                  X                                        No            1,962.01
3.035 MARTIN RECRUITING PARTNERS, LLC                                            3105 CREEKSIDE VILLAGE DRIVE, SUITE 804                                            KENNESAW          GA   30144                                   Trade Payable                                                           No                 0.00
3.036 MCS COMMERCIAL, LLC                                                        350 HIGHLAND DR STE 100                                                            LEWISVILLE        TX   75067                                   Trade Payable                                                           No            3,600.00
3.037 MUZAK, LLC.                                                                PO BOX 71070                                                                       CHARLOTTE         NC   28272-1070                              Trade Payable                                                           No            1,030.84
3.038 NCR CORPORATION                                                            P.O. BOX 198755                                                                    ATLANTA           GA   30384-8755                              Trade Payable                                                           No              224.64
3.039 NUC02 LLC                                                                  PO BOX 9011                                                                        STUART            FL   34995                                   Trade Payable                                                           No                 0.00
3.040 REGISTERED AGENT SOLUTIONS, INC.                                           1701 DIRECTORS BLVD                                                                AUSTIN            TX   78744                                   Trade Payable                                                           No                50.00
3.041 REPUBLIC SERVICES #802                                                     3950 60TH ST SW                                                                    BIRMINGHAM        AL   35221-1847                              Trade Payable                                                           No            1,165.86
3.042 RGM SUPPLIES CORP                                                          324 S DIAMOND BAR BLVD                                                             DIAMOND BAR       CA   91765                                   Trade Payable                                                           No                55.00
3.043 RSS - RESTAURANT SERVICE SOLUTIONS, LLC                                    2680 TECHNOLOGY DRIVE                                                              LOUISVILLE        KY   40299                                   Trade Payable                                                           No                 0.00
3.044 S&M HOLDINGS LLC                          ATTN: SAM RUBENSTEIN             3900 MONTCLAIR ROAD SUITE 300                                                      BIRMINGHAM        AL   35213                                   Rent                           X             X                          No         Undetermined
3.045 SAULS' LANDSCAPING                                                         1857 HANNAH STREET                                                                 SOUTHSIDE         AL   35907                                   Trade Payable                                                           No              330.00
3.046 SCALA, INC                                                                 7 GREAT VALLEY PARKWAY                                                             MALVERN           PA   19355                                   Trade Payable                                                           No              588.00
3.047 SHEER SERVICE, LLC.                                                        6250 N MILITARY TRAIL                                                              WEST PALM BEACH   FL   33407                                   Trade Payable                                                           No              190.00
3.048 SHELBY COUNTY WATER SERVICES                                               PO BOX 37                                                                          WESTOVER          AL   35185-0037                              Trade Payable                                                           No              110.63
3.049 SHELBY RIDGE UTILITY SYSTEMS, LLC.                                         2086A VALLEYDALE TERRACE                                                           BIRMINGHAM        AL   35244-1755                              Trade Payable                                                           No              684.62
3.050 SLM WASTE & RECYCLING SERVICES, INC.                                       PO BOX 782678                                                                      PHILADELPHIA      PA   19178-2678                              Trade Payable                                                           No              490.00
3.051 SOUTHEASTERN FOOD MERCHANDISERS, LP                                        201 PARKER DRIVE                                                                   PELHAM            AL   35124                                   Trade Payable                  X                                        No           27,223.88
3.052 SPECTRUM BUSINESS - CHARTER COMM                                           PO BOX 94188                                                                       PALATINE          IL   60094-4188                              Trade Payable                                                           No              254.96
3.053 STAPLES BUSINESS ADVANTAGE                                                 PO BOX 70242                                                                       PHILADELPHIA      PA   19176-0242                              Trade Payable                                                           No              162.00
3.054 STARBOARD ADMINISTRATIVE SERVICES                                          12540 W. ATLANTIC BOULEVARD                                                        CORAL SPRINGS     FL   33071                                   Intercompany Balances          X             X             X            No         Undetermined
3.055 STARBOARD GROUP MANAGEMENT                                                 12540 W. ATLANTIC BOULEVARD                                                        CORAL SPRINGS     FL   33071                                   Indemnity and Contribution     X             X             X            No         Undetermined
3.056 STARBOARD GROUP MANAGEMENT                                                 12540 W. ATLANTIC BOULEVARD                                                        CORAL SPRINGS     FL   33071                                   Intercompany Balances          X             X             X            No         Undetermined
3.057 STARBOARD GROUP MANAGEMENT                                                 12540 W. ATLANTIC BOULEVARD                                                        CORAL SPRINGS     FL   33071                                   Shared Services                X             X                          No                 0.00
3.058 STARBOARD GROUP OF SOUTHEAST FLORIDA,                                      12540 W. ATLANTIC BOULEVARD                                                        CORAL SPRINGS     FL   33071                                   Intercompany Balances          X             X             X            No         Undetermined
      LLC
3.059 STARBOARD GROUP OF TAMPA, LLC                                              12540 W. ATLANTIC BOULEVARD                                                        CORAL SPRINGS     FL   33071                                   Intercompany Balances          X             X             X            No         Undetermined
3.060 TAYLOR SALES & SERVICE                                                     PO BOX 100459                                                                      BIRMINGHAM        AL   35210                                   Trade Payable                  X                                        No            2,597.13
3.061 VIKING CLOUD, INC                                                          PO BOX 771994                                                                      DETROIT           MI   48277                                   Trade Payable                  X                                        No                0.00
3.062 WASTE MANAGMENT                                                            PO BOX 3020                                                                        MONROE            IL   53566-8320                              Trade Payable                                                           No            1,242.62
3.063 WENDY'S ADVERTISING CO-OP OF                                               1429 BUSINESS CENTER DRIVE                                                         CONYERS           GA   30094                                   Franchise                       X            X             X            No            3,663.38
      BIRMINGHAM, INC.
3.064 WENDY'S INTERNATIONAL, LLC.                                                ONE DAVE THOMAS BLVD                                                               DUBLIN            OH   43017                                   Franchise                      X             X             X            No           16,432.91
3.065 WENDY'S INTERNATIONAL, LLC.               ATTN: ACCOUNTS RECEIVABLE DEPT   ONE DAVE THOMAS BLVD                                                               DUBLIN            OH   43017                                   Royalties                      X             X             X            No           15,647.74
3.066 WENDYS NATIONAL ADVERTISING WNAP                                           ONE DAVE THOMAS BLVD                                                               DUBLIN            OH   43017                                   Franchise                      X             X             X            No           14,171.93

TOTAL                                                                                                                                                                                                                                                                                                                  $210,710.57




                                                                                                                                   Page 1 of 1
                                 Case 6:23-bk-04797-TPG                       Doc 97          Filed 12/11/23              Page 20 of 52

  Fill in this information to identify the case:

  Debtor name: 9 S & M Foods, LLC

  United States Bankruptcy Court for the: Middle District of Florida
                                                                                                                                                        Check if this is an
  Case number: 23-04800
                                                                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

Schedule G:    Executory Contracts and Unexpired Leases

1. Does the debtor have any executory contracts or unexpired leases?

   No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.

   Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).

 2. List all contracts and unexpired leases                                                State the name and mailing address for all other parties with whom the debtor
                                                                                           has an executory contract or unexpired lease

2.1     State what the contract        See Schedule G Attachment
        or lease is for and the
        nature of the debtor’s
        interest
        State the term
        remaining
        List the contract number
        of any government
        contract
                                                Case 6:23-bk-04797-TPG SCHEDULE
                                                                         Doc 97        Filed 12/11/23
                                                                                G ATTACHMENT
                                                                                                                                         Page 21 of 52
                                                                                      Executory Contracts and Unexpired Leases




  ID Description of Contract or Lease           Contract ID Counterparty's Name                          Attention            Address 1                       Address 2               City             State ZIP
2.001 INVENTORY MANAGEMENT SOFTWARE AGREEMENT               DUMAC BUSINESS SYSTEMS, INC                                       19 CORPORATE CIRCLE                                     EAST SYRACUSE    NY    13057
2.002 POS SERVICES AGREEMENT                                NCR CORPORATION                                                   411 CHATHAM HEIGHTS RD          FREDERICKSBURG VA 22405 FREDERICKSBURG   VA    22405
2.003 1600 COUNTY ROAD 437CULLMANAL35055                    PILOT TRAVEL CENTERS                         ATTN: TRACEY CHAFFIN 5508 LONAS DRIVE                                        KNOXVILLE        TN    37909
2.004 FRANCHISE AGREEMENT                                   QUALITY IS OUR RECIPE, LLC                                        ONE DAVE THOMAS BLVD                                    DUBLIN           OH 43017
2.005 1600 COUNTY ROAD 437CULLMANAL35055                    S&M HOLDINGS LLC                             ATTN: SAM RUBENSTEIN 3900 MONTCLAIR ROAD SUITE 300                           BIRMINGHAM       AL    35213
2.006 COKE EQUIPMENT RENTAL                       11448     THE COCA-COLA COMPANY                                             PO BOX 1578                                             ATLANTA          GA    30301




                                                                                                    Page 1 of 1
                                    Case 6:23-bk-04797-TPG                            Doc 97           Filed 12/11/23                 Page 22 of 52

  Fill in this information to identify the case:

  Debtor name: 9 S & M Foods, LLC

  United States Bankruptcy Court for the: Middle District of Florida
                                                                                                                                                                        Check if this is an
  Case number: 23-04800
                                                                                                                                                                        amended filing


Official Form 206H
Schedule H: Codebtors

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this
page.

1. Does the debtor have any codebtors?

   No. Check this box and submit this form to the court with the debtor’s other schedules. Nothing else needs to be reported on this form.

   Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules D-G. Include all
guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one
creditor, list each creditor separately in Column 2.

 Column 1: Codebtor                                                                                 Column 2: Creditor


 Name                              Mailing Address                                                  Name                                                              Check all schedules
                                                                                                                                                                      that apply:

2.1
Andrew Levy                                                                                        Quality Is Our Recipe, LLC                                              D
                                  12540 W Atlantic Blvd. Coral Springs, FL 33071
                                                                                                                                                                           E/F

                                                                                                                                                                           G


2.2
Samuel G Rubenstein                                                                                Quality Is Our Recipe, LLC                                              D
                                  12540 W Atlantic Blvd. Coral Springs, FL 33071
                                                                                                                                                                           E/F

                                                                                                                                                                           G

2.3
Stanley M Rubenstein                                                                               Quality Is Our Recipe, LLC                                              D
                                  12540 W Atlantic Blvd. Coral Springs, FL 33071
                                                                                                                                                                           E/F

                                                                                                                                                                           G

2.4
Starboard S&M JV, LLC                                                                              Quality Is Our Recipe, LLC                                              D
                                  12540 W Atlantic Blvd. Coral Springs, FL 33071
                                                                                                                                                                           E/F

                                                                                                                                                                           G
Case 6:23-bk-04797-TPG   Doc 97   Filed 12/11/23   Page 23 of 52
         Case 6:23-bk-04797-TPG   Doc 97   Filed 12/11/23   Page 24 of 52




                      UNITED STATES BANKRUPTCY COURT
                         MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION



In re:                                       Chapter 11

9 S & M FOODS, LLC                           Case No. 23-04800 (TPG)

            Debtor.




              STATEMENT OF FINANCIAL AFFAIRS OF DEBTOR
                  9 S & M FOODS, LLC (CASE NO. 23-04800)
                                 Case 6:23-bk-04797-TPG                     Doc 97         Filed 12/11/23             Page 25 of 52

  Fill in this information to identify the case:

  Debtor name: 9 S & M Foods, LLC

  United States Bankruptcy Court for the: Middle District of Florida
                                                                                                                                                    Check if this is an
  Case number: 23-04800
                                                                                                                                                    amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                              04/22


The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and
case number (if known).

Part 1:   Income

1. Gross revenue from business
     None

 Identify the beginning and ending dates of the debtor’s fiscal year, which may be      Sources of revenue                                        Gross revenue
 a calendar year                                                                        Check all that apply                                      (before deductions and
                                                                                                                                                  exclusions)


From the beginning of           From                       to     11/6/2023                Operating a business                                           $1,590,187.00
the fiscal year to filing       1/1/2023
date:                                                                                      Other




For prior year:                 From                       to                              Operating a business                                           $2,161,650.00
                                1/1/2022                   12/31/2022
                                                                                           Other




For the year before that:       From                       to                              Operating a business                                           $2,242,476.00
                                1/1/2021                   12/31/2021
                                                                                           Other




2. Non-business revenue
Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and royalties. List each
source and the gross revenue for each separately. Do not include revenue listed in line 1.
     None

                                                                                        Description of sources of revenue                         Gross revenue from
                                                                                                                                                  each source
                                                                                                                                                  (before deductions and
                                                                                                                                                  exclusions)

From the beginning of          From                        to     11/6/2023            Coke Rebate                                                           $31,928.00
the fiscal year to filing      1/1/2023
date:

For prior year:                From                        to                          Coke Rebate & PPP Loan Forgiven                                      $108,109.00
                               1/1/2022                    12/31/2022


For the year before that:      From                        to                          Coke Rebate & Misc Income                                             $45,522.00
                               1/1/2021                    12/31/2021
Debtor    9 S & M Foods, LLC_______________________________________________________                  Case number (if known) 23-04800________________________________________
          Name
                                     Case 6:23-bk-04797-TPG                      Doc 97          Filed 12/11/23               Page 26 of 52
  Part 2:    List Certain Transfers Made Before Filing for Bankruptcy

  3. Certain payments or transfers to creditors within 90 days before filing this case
  List payments or transfers - including expense reimbursements - to any creditor, other than regular employee compensation, within 90 days before filing this case unless the
  aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases
  filed on or after the date of adjustment.)
         None

   Creditor’s name and address                                  Dates                         Total amount or value          Reasons for payment or transfer
                                                                                                                             Check all that apply

  3.1
                                                                                                                                Secured debt

                                                                                                                                Unsecured loan repayments

                                                                                                                                Suppliers or vendors

                                                                                                                                Services

                                                                                                                                Other




  4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
  List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or cosigned by an
  insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
  years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in
  control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any
  managing agent of the debtor. 11 U.S.C. § 101(31).
         None

   Insider’s name and address                                   Dates                         Total amount or value          Reasons for payment or transfer

  4.1
                                                               See SOFA 4 Attachment                  $1,659,380.63             Secured debt
            Starboard Group Employee Services -- 12540
            W. Atlantic Blvd., Coral Springs, FL, 33071                                                                         Unsecured loan repayments

                                                                                                                                Suppliers or vendors
            Relationship to debtor
            Common Ownership                                                                                                    Services

                                                                                                                                Other

                                                                                                                            Debtor Payroll Payment

  4.2
                                                               See SOFA 4 Attachment                  $1,469,584.14             Secured debt
            Starboard Group Holdings, LLC -- 12540 W.
            Atlantic Blvd., Coral Springs, FL, 33071                                                                            Unsecured loan repayments

                                                                                                                                Suppliers or vendors
            Relationship to debtor
            Common Ownership                                                                                                    Services

                                                                                                                                Other

                                                                                                                            Intercompany Transfers
Debtor    9 S & M Foods, LLC_______________________________________________________                       Case number (if known) 23-04800________________________________________
          Name
                                  Case 6:23-bk-04797-TPG                          Doc 97             Filed 12/11/23             Page 27 of 52
  5. Repossessions, foreclosures, and returns
  List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a foreclosure sale,
  transferred by a deed in lieu of foreclosure, or returned to the seller.
  Do not include property listed in line 6.
         None

   Creditor’s name and address                                  Description of the property                                     Date                        Value of property

  5.1



  6. Setoffs
  List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the debtor without
  permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
         None

   Creditor’s name and address                                  Description of the action creditor took                         Date action was taken       Amount

  6.1


                                                               Last 4 digits of account number

  Part 3:    Legal Actions or Assignments

  7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
  List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any capacity—within 1
  year before filing this case.
         None

   Case title                                    Nature of case                                  Court or agency’s name and address                         Status of case

  7.1
            Name                                                                                 Name                                                           Pending
                                                                                                                                                                On appeal
            Case number                                                                          Street                                                         Concluded

                                                                                                 City                                 State   Zip



  8. Assignments and receivership
  List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a receiver, custodian, or
  other court-appointed officer within 1 year before filing this case.
         None

   Custodian’s name and address                                 Description of the property                                     Value

  8.1
            Custodian's name and address

                                                               Case title                                                      Court name and address
            Street                                                                                                             Name

                                                               Case number
            City                     State     Zip                                                                             Street

                                                               Date of order or assignment
                                                                                                                               City                             State       Zip
Debtor    9 S & M Foods, LLC_______________________________________________________                    Case number (if known) 23-04800________________________________________
          Name
                                     Case 6:23-bk-04797-TPG                       Doc 97           Filed 12/11/23             Page 28 of 52
  Part 4:    Certain Gifts and Charitable Contributions

  9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts to that recipient is
  less than $1,000
         None

   Recipient’s name and address                                 Description of the gifts or contributions                    Dates given                    Value

  9.1
            Recipient's name


            Street


            City                        State      Zip


            Recipient’s relationship to debtor



  Part 5:    Losses

  10. All losses from fire, theft, or other casualty within 1 year before filing this case
         None

   Description of the property lost and how the loss            Amount of payments received for the loss                     Date of loss                   Value of property lost
   occurred                                                     If you have received payments to cover the loss, for
                                                                example, from insurance, government
                                                                compensation, or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B
                                                                (Schedule A/B: Assets – Real and Personal
                                                                Property).

  10.1



  Part 6:    Certain Payments or Transfers

  11. Payments related to bankruptcy
  List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to another
  person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.
         None

   Who was paid or who received the transfer?                   If not money, describe any property transferred              Dates                          Total amount or value

  11.1
                                                                                                                            11/10/2023                                    $322.58
            Stretto -- 410 Exchange, Suite 100, Irvine, CA,
            92602

            Email or website address
            www.stretto.com

            Who made the payment, if not debtor?
            Starboard Group of Space Coast, LLC
Debtor    9 S & M Foods, LLC_______________________________________________________                 Case number (if known) 23-04800________________________________________
          Name
                                     Case 6:23-bk-04797-TPG                      Doc 97          Filed 12/11/23             Page 29 of 52

  11.2
                                                                                                                           11/7/2023                                  $4,032.26
            Underwood Murray PA -- 100 N Tampa Street,
            Suite 2325, Tampa, FL, 33602

            Email or website address
            www.underwoodmurray.com

            Who made the payment, if not debtor?
            SB Holdings, LLC

  12. Self-settled trusts of which the debtor is a beneficiary
  List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a self-settled trust or
  similar device.
  Do not include transfers already listed on this statement.
         None

   Name of trust or device                                     Describe any property transferred                            Dates transfers were          Total amount or value
                                                                                                                            made

  12.1


            Trustee


  13. Transfers not already listed on this statement
  List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor within 2 years before the filing
  of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both outright transfers and transfers made as
  security. Do not include gifts or transfers previously listed on this statement.
         None

   Who received transfer?                                      Description of property transferred or payments              Date transfer was             Total amount or value
                                                               received or debts paid in exchange                           made

  13.1



            Relationship to debtor



  Part 7:    Previous Locations

  14. Previous addresses
  List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         Does not apply

   Address                                                                                                   Dates of occupancy

  14.1
            Street                                                                                          From                                 to


            City                                               State            Zip
Debtor     9 S & M Foods, LLC_______________________________________________________                        Case number (if known) 23-04800________________________________________
           Name
                                       Case 6:23-bk-04797-TPG                         Doc 97            Filed 12/11/23                  Page 30 of 52
  Part 8:      Health Care Bankruptcies

  15. Health Care bankruptcies
  Is the debtor primarily engaged in offering services and facilities for:
         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

         No. Go to part 9.

         Yes. Fill in the information below.

   Facility name and address                                                       Nature of the business operation, including type of services the           If debtor provides
                                                                                   debtor provides                                                            meals and housing,
                                                                                                                                                              number of patients in
                                                                                                                                                              debtor's care

  15.1
              Street

                                                                                   Location where patient records are maintained(if different from facility   How are records kept?
               City                              State       Zip                   address). If electronic, identify any service provider                     Check all that apply:
                                                                                                                                                                  Electronically

                                                                                                                                                                  Paper

  Part 9:      Personally Identifiable Information

  16. Does the debtor collect and retain personally identifiable information of customers?

         No.

         Yes. State the nature of the information collected and retained.
                  Does the debtor have a privacy policy about that information?
                       No

                       Yes

  17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or profit-sharing plan made
  available by the debtor as an employee benefit?
         No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?
                       No. Go to Part 10.
                       Yes. Fill in below:
  Name of plan                                                                                     Employer identification number of the plan
  Starboard Group 401(k) Plan                                                                      XX-XXXXXXX

  Has the plan been terminated?
         No

         Yes
Debtor    9 S & M Foods, LLC_______________________________________________________                  Case number (if known) 23-04800________________________________________
          Name
                                  Case 6:23-bk-04797-TPG                          Doc 97          Filed 12/11/23              Page 31 of 52
  Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

  18. Closed financial accounts
  Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved, or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses, cooperatives,
  associations, and other financial institutions.
         None

   Financial institution name and address                                      Last 4          Type of account               Date account was               Last balance before
                                                                               digits of                                     closed, sold, moved, or        closing or transfer
                                                                               account                                       transferred
                                                                               number

  18.1
             Name                                                                                 Checking

                                                                                                  Savings
             Street
                                                                                                  Money market
             City                             State       Zip                                     Brokerage

                                                                                                   Other




  19. Safe deposit boxes
  List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
         None

   Depository institution name and address                      Names of anyone with access to it             Description of the contents                   Does debtor still have
                                                                                                                                                            it?

  19.1
             Name                                                                                                                                             No
                                                                Address
                                                                                                                                                              Yes
             Street


             City                    State     Zip



  20. Off-premises storage
  List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the debtor does
  business.
         None

   Facility name and address                                    Names of anyone with access to it             Description of the contents                   Does debtor still have
                                                                                                                                                            it?

  20.1
             Name                                                                                                                                             No
                                                                Address
                                                                                                                                                              Yes
             Street


             City                    State     Zip
Debtor    9 S & M Foods, LLC_______________________________________________________                                Case number (if known) 23-04800________________________________________
          Name
                                          Case 6:23-bk-04797-TPG                             Doc 97             Filed 12/11/23                Page 32 of 52
  Part 11:       Property the Debtor Holds or Controls that the Debtor Does Not Own

  21. Property held for another
  List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list leased or rented
  property
         None

   Owner’s name and address                                              Location of the property                           Description of the property                        Value

  21.1



  Part 12:       Details About Environmental Information

  For the purpose of Part 12, the following definitions apply:
           Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium affected (air, land, water,
               or any other medium).


               Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated, or utilized.

               Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly harmful substance.

  Report all notices, releases, and proceedings known, regardless of when they occurred.

  22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders

         No.

         Yes. Provide details below.

   Case title                                           Court or agency name and address                                    Nature of the case                                 Status of case

  22.1
                                                        Name                                                                                                                       Pending
             Case Number
                                                                                                                                                                                   On appeal
                                                        Street
                                                                                                                                                                                   Concluded

                                                        City                                   State      Zip



  23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an environmental law?
         No

         Yes. Provide details below.

   Site name and address                                Governmental unit name and address                                  Environmental law, if known                        Date of notice

  23.1
              Name                                      Name


              Street                                    Street


               City               State   Zip           City                                   State      Zip
Debtor    9 S & M Foods, LLC_______________________________________________________                   Case number (if known) 23-04800________________________________________
          Name
                                       Case 6:23-bk-04797-TPG                       Doc 97          Filed 12/11/23          Page 33 of 52
  24. Has the debtor notified any governmental unit of any release of hazardous material?
         No

         Yes. Provide details below.

   Site name and address                           Governmental unit name and address                         Environmental law, if known                Date of notice

  24.1
              Name                                 Name


              Street                               Street


              City             State   Zip         City                               State   Zip



  Part 13:       Details About the Debtor's Business or Connections to Any Business

  25. Other businesses in which the debtor has or has had an interest
  List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this information even if
  already listed in the Schedules.

         None

   Business name and address                                       Describe the nature of the business                      Employer Identification number
                                                                                                                            Do not include Social Security number or ITIN.

  25.1
                                                                                                                           EIN

                                                                                                                           Dates business existed
                                                                                                                           From                         to



  26. Books, records, and financial statements
  26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
         None

   Name and address                                                                                                         Dates of service

  26a.1
                                                                                                                           From                         to
              Kevin M Holbrook -- 12540 W. Atlantic Blvd., Coral Springs, FL, 33071                                        1/11/2016                    8/1/2022


  26a.2
                                                                                                                           From                         to
              Patricia Angel -- 12540 W. Atlantic Blvd., Coral Springs, FL, 33071                                          3/26/2018                    6/5/2022


  26a.3
                                                                                                                           From                         to
              Thomas Carr -- 12540 W. Atlantic Blvd., Coral Springs, FL, 33071                                             7/5/2022                     Present


  26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement within 2 years before filing
  this case.
         None

   Name and address                                                                                                         Dates of service

  26b.1
                                                                                                                           From                         to
              Berkowitz Pollack Brant -- 200 S. Biscayne Boulevard, 7th & 8th Floors, Miami, FL, 33131-5351                2021                         Present
Debtor    9 S & M Foods, LLC_______________________________________________________                  Case number (if known) 23-04800________________________________________
          Name
                                    Case 6:23-bk-04797-TPG                        Doc 97         Filed 12/11/23             Page 34 of 52
  26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
         None

   Name and address                                                                                                         If any books of account and records are unavailable,
                                                                                                                            explain why

  26c.1



  26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement within 2 years before
  filing this case.
         None

   Name and address

  26d.1

              See Global Notes


  27. Inventories
  Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         No

         Yes. Give the details about the two most recent inventories.

   Name of the person who supervised the taking of the inventory                             Date of inventory              The dollar amount and basis (cost, market, or other
                                                                                                                            basis) of each inventory

  See SOFA 27 Attachment                                                                    11/6/2023                     Cost - $11,008.33

   Name and address of the person who has possession of inventory records


  27.1

              Various - See SOFA 27 Attachment


  Note: Inventory is conducted at each location weekly. Inventory value reflects the latest value as of 11/5/2023.

  28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in control of the debtor at the
  time of the filing of this case.
   Name and Address                                                                          Position and nature of any interest           % of interest, if any

  28.1
                                                                                            Manager
              Andrew Levy -- 12540 W. Atlantic Blvd., Coral Springs, FL 33071



  28.2
                                                                                            Manager
              Samuel G Rubenstein -- 12540 W. Atlantic Blvd., Coral Springs, FL 33071



  28.3
                                                                                            Manager
              Stanley M Rubenstein -- 12540 W. Atlantic Blvd., Coral Springs, FL 33071



  28.4
                                                                                            Member                                        100%
              Starboard S&M JV, LLC -- 12540 W. Atlantic Blvd., Coral Springs, FL 33071
Debtor    9 S & M Foods, LLC_______________________________________________________                 Case number (if known) 23-04800________________________________________
          Name
                                  Case 6:23-bk-04797-TPG                         Doc 97          Filed 12/11/23             Page 35 of 52
  29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of the debtor, or
  shareholders in control of the debtor who no longer hold these positions?
         No

         Yes. Identify below.

   Name and Address                                                                          Position and nature of any interest           Period during which position or
                                                                                                                                           interest was held

  29.1
                                                                                                                                          From                  to



  30. Payments, distributions, or withdrawals credited or given to insiders
  Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans, credits on loans,
  stock redemptions, and options exercised?
         No

         Yes. Identify below.

   Name and address of recipient                                              Amount of money or description and            Dates                         Reason for providing
                                                                              value of property                                                           the value

  30.1




   Relationship To Debtor




  31.Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
         No

         Yes. Identify below.

   Name of the parent corporation                                                                                           Employer Identification number of the parent
                                                                                                                            corporation

  31.1
                                                                                                                           EIN

  32.Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
         No

         Yes. Identify below.

   Name of the pension fund                                                                                                 Employer Identification number of the pension fund

  32.1
                                                                                                                           EIN
Case 6:23-bk-04797-TPG          Doc 97    Filed 12/11/23      Page 36 of 52
                           SOFA 4 ATTACHMENT


Payee Name                                     Payment Date   Payment Amount
Starboard Group Employee Services              11/17/2022           76,438.70
Starboard Group Employee Services              12/1/2022            66,312.05
Starboard Group Employee Services              12/5/2022             1,229.82
Starboard Group Employee Services              12/15/2022           71,464.12
Starboard Group Employee Services              12/28/2022           68,440.92
Starboard Group Employee Services              1/12/2023            68,270.98
Starboard Group Employee Services              1/26/2023            70,155.89
Starboard Group Employee Services              2/9/2023             59,324.28
Starboard Group Employee Services              2/10/2023            14,253.96
Starboard Group Employee Services              2/13/2023             1,249.09
Starboard Group Employee Services              2/22/2023            72,549.04
Starboard Group Employee Services              3/7/2023              1,581.01
Starboard Group Employee Services              3/8/2023             66,615.28
Starboard Group Employee Services              3/21/2023             1,365.52
Starboard Group Employee Services              3/23/2023            65,827.03
Starboard Group Employee Services              4/5/2023              1,252.46
Starboard Group Employee Services              4/19/2023            63,308.25
Starboard Group Employee Services              4/25/2023             1,320.75
Starboard Group Employee Services              5/4/2023             60,202.36
Starboard Group Employee Services              5/18/2023            66,034.68
Starboard Group Employee Services              5/22/2023             5,325.84
Starboard Group Employee Services              5/30/2023             1,237.86
Starboard Group Employee Services              6/1/2023             66,812.23
Starboard Group Employee Services              6/12/2023               166.78
Starboard Group Employee Services              6/15/2023            67,664.58
Starboard Group Employee Services              6/29/2023            69,824.00
Starboard Group Employee Services              7/13/2023            67,990.40
Starboard Group Employee Services              7/26/2023            59,757.84
Starboard Group Employee Services              8/4/2023              1,260.35
Starboard Group Employee Services              8/10/2023            57,411.05
Starboard Group Employee Services              8/24/2023            52,844.00
Starboard Group Employee Services              8/29/2023             3,696.00
Starboard Group Employee Services              9/6/2023             23,000.00
Starboard Group Employee Services              9/7/2023             26,091.76
Starboard Group Employee Services              9/12/2023             1,090.54
Starboard Group Employee Services              9/20/2023            38,000.00
Starboard Group Employee Services              9/21/2023            14,982.90
Starboard Group Employee Services              9/29/2023             1,205.81
Starboard Group Employee Services              10/5/2023            52,281.97
Starboard Group Employee Services              10/18/2023            1,205.81
Starboard Group Employee Services              10/19/2023           60,000.00
Starboard Group Employee Services              10/20/2023           10,500.00
Starboard Group Employee Services              11/1/2023            15,000.00
Starboard Group Employee Services              11/2/2023            39,834.72
Starboard Group Employee Services              11/13/2023           25,000.00
Starboard Group Employee Services Total                          1,659,380.63

Starboard Group Holdings, LLC                  11/17/2022           38,000.00
Starboard Group Holdings, LLC                  12/1/2022             3,600.00
Starboard Group Holdings, LLC                  12/2/2022             8,000.00
Starboard Group Holdings, LLC                  12/7/2022            35,000.00
Starboard Group Holdings, LLC                  12/8/2022             8,000.00
Starboard Group Holdings, LLC                  12/9/2022            13,500.00


                                 Page 1 of 3
Case 6:23-bk-04797-TPG          Doc 97    Filed 12/11/23      Page 37 of 52
                           SOFA 4 ATTACHMENT


Payee Name                                     Payment Date   Payment Amount
Starboard Group Holdings, LLC                  12/20/2022           1,243.27
Starboard Group Holdings, LLC                  12/29/2022           9,800.00
Starboard Group Holdings, LLC                  1/4/2023            35,000.00
Starboard Group Holdings, LLC                  1/5/2023            10,000.00
Starboard Group Holdings, LLC                  1/20/2023            3,500.00
Starboard Group Holdings, LLC                  1/26/2023            5,000.00
Starboard Group Holdings, LLC                  1/27/2023           15,000.00
Starboard Group Holdings, LLC                  2/1/2023            30,000.00
Starboard Group Holdings, LLC                  2/3/2023             7,500.00
Starboard Group Holdings, LLC                  2/8/2023            25,000.00
Starboard Group Holdings, LLC                  2/15/2023           30,000.00
Starboard Group Holdings, LLC                  2/16/2023           16,000.00
Starboard Group Holdings, LLC                  2/23/2023           10,000.00
Starboard Group Holdings, LLC                  2/24/2023           10,000.00
Starboard Group Holdings, LLC                  3/3/2023            50,000.00
Starboard Group Holdings, LLC                  3/9/2023            12,000.00
Starboard Group Holdings, LLC                  3/17/2023           15,000.00
Starboard Group Holdings, LLC                  3/22/2023           25,000.00
Starboard Group Holdings, LLC                  3/23/2023               790.00
Starboard Group Holdings, LLC                  3/24/2023            8,000.00
Starboard Group Holdings, LLC                  3/29/2023           35,000.00
Starboard Group Holdings, LLC                  4/5/2023            55,000.00
Starboard Group Holdings, LLC                  4/12/2023           30,000.00
Starboard Group Holdings, LLC                  4/13/2023           16,800.00
Starboard Group Holdings, LLC                  5/4/2023            15,000.00
Starboard Group Holdings, LLC                  5/5/2023            10,000.00
Starboard Group Holdings, LLC                  5/10/2023           52,000.00
Starboard Group Holdings, LLC                  5/11/2023           12,000.00
Starboard Group Holdings, LLC                  5/12/2023            9,000.00
Starboard Group Holdings, LLC                  5/19/2023            7,000.00
Starboard Group Holdings, LLC                  5/22/2023           12,000.00
Starboard Group Holdings, LLC                  5/24/2023           30,000.00
Starboard Group Holdings, LLC                  5/25/2023           10,000.00
Starboard Group Holdings, LLC                  5/26/2023            4,500.00
Starboard Group Holdings, LLC                  6/1/2023            16,000.00
Starboard Group Holdings, LLC                  6/2/2023            16,000.00
Starboard Group Holdings, LLC                  6/5/2023             6,000.00
Starboard Group Holdings, LLC                  6/7/2023            20,000.00
Starboard Group Holdings, LLC                  6/8/2023            17,500.00
Starboard Group Holdings, LLC                  6/13/2023           36,000.00
Starboard Group Holdings, LLC                  6/16/2023            5,500.00
Starboard Group Holdings, LLC                  6/23/2023           13,000.00
Starboard Group Holdings, LLC                  6/29/2023            9,000.00
Starboard Group Holdings, LLC                  6/30/2023           15,500.00
Starboard Group Holdings, LLC                  7/6/2023            10,000.00
Starboard Group Holdings, LLC                  7/7/2023            18,000.00
Starboard Group Holdings, LLC                  7/11/2023           25,000.00
Starboard Group Holdings, LLC                  7/12/2023           15,000.00
Starboard Group Holdings, LLC                  7/13/2023            9,000.00
Starboard Group Holdings, LLC                  7/14/2023           11,500.00
Starboard Group Holdings, LLC                  7/18/2023           20,000.00
Starboard Group Holdings, LLC                  7/20/2023           11,000.00
Starboard Group Holdings, LLC                  7/25/2023           25,000.00



                                 Page 2 of 3
Case 6:23-bk-04797-TPG        Doc 97    Filed 12/11/23      Page 38 of 52
                          SOFA 4 ATTACHMENT


Payee Name                                   Payment Date   Payment Amount
Starboard Group Holdings, LLC                7/26/2023            10,000.00
Starboard Group Holdings, LLC                7/27/2023             9,000.00
Starboard Group Holdings, LLC                7/31/2023            20,000.00
Starboard Group Holdings, LLC                8/1/2023              5,500.00
Starboard Group Holdings, LLC                8/2/2023             15,000.00
Starboard Group Holdings, LLC                8/3/2023             11,000.00
Starboard Group Holdings, LLC                8/4/2023              9,000.00
Starboard Group Holdings, LLC                8/10/2023            15,000.00
Starboard Group Holdings, LLC                8/11/2023             2,000.00
Starboard Group Holdings, LLC                8/15/2023            21,900.00
Starboard Group Holdings, LLC                8/16/2023            10,000.00
Starboard Group Holdings, LLC                8/17/2023             7,000.00
Starboard Group Holdings, LLC                8/23/2023            27,000.00
Starboard Group Holdings, LLC                8/25/2023               750.00
Starboard Group Holdings, LLC                8/28/2023             3,500.00
Starboard Group Holdings, LLC                8/29/2023            12,000.00
Starboard Group Holdings, LLC                8/30/2023            15,000.00
Starboard Group Holdings, LLC                9/1/2023             14,000.00
Starboard Group Holdings, LLC                9/11/2023             2,530.00
Starboard Group Holdings, LLC                9/12/2023             6,000.00
Starboard Group Holdings, LLC                9/13/2023             8,150.87
Starboard Group Holdings, LLC                9/15/2023            15,500.00
Starboard Group Holdings, LLC                9/25/2023             5,160.00
Starboard Group Holdings, LLC                9/27/2023            20,000.00
Starboard Group Holdings, LLC                9/29/2023            25,000.00
Starboard Group Holdings, LLC                10/6/2023            16,000.00
Starboard Group Holdings, LLC                10/11/2023           20,000.00
Starboard Group Holdings, LLC                10/13/2023           10,000.00
Starboard Group Holdings, LLC                10/19/2023            1,500.00
Starboard Group Holdings, LLC                10/24/2023           17,000.00
Starboard Group Holdings, LLC                10/25/2023           12,500.00
Starboard Group Holdings, LLC                10/26/2023           11,000.00
Starboard Group Holdings, LLC                11/3/2023            10,000.00
Starboard Group Holdings, LLC                11/7/2023            28,400.00
Starboard Group Holdings, LLC                11/8/2023             5,800.00
Starboard Group Holdings, LLC                11/9/2023             9,600.00
Starboard Group Holdings, LLC                11/10/2023           12,260.00
Starboard Group Holdings, LLC                11/13/2023            3,300.00
Starboard Group Holdings, LLC Total                            1,469,584.14




                               Page 3 of 3
            Case 6:23-bk-04797-TPG          Doc 97    Filed 12/11/23   Page 39 of 52
                                       SOFA 27 ATTACHMENT


9 S&M Foods, LLC
Case No.: 6:23-bk-04800

       Debtor             Store Number Store Status On-Hand Value   Date        Approved By
JV-9 S&M FOODS LLC             615       Opened         11,008.33 11/6/2023 Goodhope, Goodhope
Total                                               $   11,008.33




                                             Page 1 of 1
Case 6:23-bk-04797-TPG   Doc 97   Filed 12/11/23   Page 40 of 52
              Case 6:23-bk-04797-TPG       Doc 97   Filed 12/11/23   Page 41 of 52




                                  UNITED STATES BANKRUPTCY COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                          ORLANDO DIVISION

In re:

Starboard Group of Space Coast, LLC                 Case No. 6:23-bk-04789-TPG
Starboard Group of Southeast Florida, LLC           Case No. 6:23-bk-04791-TPG
Starboard Group of Tampa, LLC                       Case No. 6:23-bk-04790-TPG
Starboard Group of Tampa II, LLC                    Case No. 6:23-bk-04793-TPG
Starboard Group of Alabama, LLC                     Case No. 6:23-bk-04792-TPG
Starboard with Cheese, LLC                          Case No. 6:23-bk-04796-TPG
7 S&M Foods, LLC                                    Case No. 6:23-bk-04798-TPG
9 S&M Foods, LLC                                    Case No. 6:23-bk-04800-TPG
10 S&M Foods, LLC                                   Case No. 6:23-bk-04802-TPG
SBG Burger Opco, LLC;                               Case No. 6:23-bk-04797-TPG (Lead Case)
                                                    Chapter 11 – Jointly Administered
                       Debtors.
_________________________________/

                      GLOBAL NOTES AND SPECIFIC DISCLOSURES
                   REGARDING THE DEBTORS’ SCHEDULES OF ASSETS
                AND LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

          SBG Burger Opco, LLC (“SBG Burger”); Starboard Group of Space Coast, LLC (“SBG

Space Coast”); Starboard Group of Southeast Florida, LLC (“SBG Southeast”); Starboard

Group of Tampa, LLC (“SBG Tampa”); Starboard Group of Tampa II, LLC (“SBG Tampa

II”); Starboard Group of Alabama, LLC (“SBG Alabama”) and Starboard with Cheese, LLC

(“SBG Cheese”); 7 S & M Foods, LLC (“7SMF”); 9 S&M Foods, LLC (“9SMF”); and 10 S&M

Foods, LLC (“10SMF”) (collectively, the “Debtors” and each individually a “Debtor”), by

counsel, with the assistance of their management, professionals, and advisors, have filed their

respective Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial

Affairs (the “Statements”, and together with the Schedules, the “Schedules and Statements”)

with the United States Bankruptcy Court for the Middle District of Florida (the “Bankruptcy

Court”).


                                               1

4858-2631-4076, v. 1
              Case 6:23-bk-04797-TPG       Doc 97     Filed 12/11/23     Page 42 of 52




          These Global Notes and Specific Disclosures Regarding the Debtors’ Schedules of Assets

and Liabilities and Statements of Financial Affairs (the “Global Notes”) pertain to, are

incorporated by reference in, and comprise an integral part of each Debtor’s Schedules and

Statements. The Global Notes should be referred to, considered, and reviewed in connection with

any review of the Schedules and Statements.

          The Schedules and Statements do not purport to represent financial statements prepared

in accordance with Generally Accepted Accounting Principles in the United States (“GAAP”),

nor are they intended to be fully reconciled with the financial statements of each Debtor (whether

publicly filed or otherwise). Additionally, the Schedules and Statements contain unaudited

information that is subject to further review and potential adjustment, and reflect the Debtors’

reasonable efforts to report the assets and liabilities of each Debtor on an unconsolidated basis.

          In preparing the Schedules and Statements, the Debtors relied upon information derived

from their books and records that was available at the time of such preparation. Although the

Debtors have made reasonable efforts to ensure the accuracy and completeness of such financial

information, inadvertent errors or omissions, as well as the discovery of conflicting, revised, or

subsequent information, may cause a material change to the Schedules and Statements.

          The Debtors and their officers, employees, agents, attorneys, and financial advisors do

not guarantee or warrant the accuracy or completeness of the data that is provided in the

Schedules and Statements and shall not be liable for any loss or injury arising out of or caused in

whole or in part by the acts, omissions, whether negligent or otherwise, in procuring, compiling,

collecting, interpreting, reporting, communicating, or delivering the information contained in the

Schedules and Statements. Except as expressly required by the Bankruptcy Code, the Debtors

and their officers, employees, agents, attorneys, and financial advisors expressly do not



                                                 2

4858-2631-4076, v. 1
               Case 6:23-bk-04797-TPG          Doc 97    Filed 12/11/23   Page 43 of 52




undertake any obligation to update, modify, revise, or re-categorize the information provided in

the Schedules and Statements or to notify any third party should the information be updated,

modified, revised, or re-categorized. The Debtors, on behalf of themselves, their officers,

employees, agents, and advisors disclaim any liability to any third party arising out of or related

to the information contained in the Schedules and Statements and reserve all rights with respect

thereto.

          The Schedules and Statements have been signed by an authorized representative of each

of the Debtors. In reviewing and signing the Schedules and Statements, this representative relied

upon the efforts, statements, and representations of the Debtors’ other personnel and

professionals. The representative has not (and could not have) personally verified the accuracy of

each such statement and representation, including, for example, statements and representations

concerning amounts owed to creditors and their addresses.

                                Global Notes and Overview of Methodology

          1.           Reservation of Rights. Reasonable efforts have been made to prepare and file

complete and accurate Schedules and Statements; however, inadvertent errors or omissions may

exist. The Debtors reserve all rights to amend or supplement the Schedules and Statements from

time to time, in all respects, as may be necessary or appropriate, including, without limitation,

the right to amend the Schedules and Statements with respect to claim (“Claim”) description,

designation, or Debtor against which the Claim is asserted; dispute or otherwise assert offsets or

defenses to any Claim reflected in the Schedules and Statements as to amount, liability, priority,

status, or classification; subsequently designate any Claim as “disputed,” “contingent,” or

“unliquidated;” or object to the extent, validity, enforceability, priority, or avoidability of any

Claim. Any failure to designate a Claim in the Schedules and Statements as “disputed,”



                                                     3

4858-2631-4076, v. 1
               Case 6:23-bk-04797-TPG           Doc 97     Filed 12/11/23   Page 44 of 52




“contingent,” or “unliquidated” does not constitute an admission by the Debtors that such Claim

or amount is not “disputed,” “contingent,” or “unliquidated.”

          Listing a Claim does not constitute an admission of liability by the Debtor against which

the Claim is listed or against any of the Debtors. Furthermore, nothing contained in the

Schedules and Statements shall constitute a waiver of rights with respect to the Debtors’ chapter

11 cases, including, without limitation, issues involving Claims, substantive consolidation,

defenses, equitable subordination, recharacterization, and/or causes of action arising under the

provisions of chapter 5 of the Bankruptcy Code and any other relevant non-bankruptcy laws to

recover assets or avoid transfers. Any specific reservation of rights contained elsewhere in the

Global Notes does not limit in any respect the general reservation of rights contained in this

paragraph. Notwithstanding the foregoing, the Debtors shall not be required to update the

Schedules and Statements unless ordered to do so by the Bankruptcy Court.

          2.           Recharacterization. Notwithstanding the Debtors’ reasonable efforts to properly

characterize, classify, categorize, or designate certain Claims, assets, executory contracts,

unexpired leases, and other items reported in the Schedules and Statements, the Debtors may,

nevertheless, have improperly or inadvertently characterized, classified, categorized, designated,

or omitted certain items due to the complexity and size of the Debtors’ businesses. Accordingly,

the Debtors reserve all of their rights to recharacterize, reclassify, recategorize, redesignate, add,

or delete items reported in the Schedules and Statements at a later time as is necessary or

appropriate as additional information becomes available, including, without limitation, whether

contracts or leases listed herein were deemed executory or unexpired as of the Petition Date and

remain executory and unexpired postpetition.




                                                      4

4858-2631-4076, v. 1
               Case 6:23-bk-04797-TPG            Doc 97     Filed 12/11/23    Page 45 of 52




          3.           Real Property and Personal Property–Leased. In the ordinary course of their

businesses, the Debtors lease real property and various articles of personal property, including,

but not limited to, fixtures and equipment, from certain third-party lessors. However, nothing in

the Schedules or Statements is or shall be construed as an admission or determination as to the

legal status of any lease (including whether to assume and assign or reject such lease or whether

it is a true lease or a financing arrangement). Further the values reflected for the leased property

is the book value of such leases.

          4.           Excluded Assets and Liabilities. The Debtors have sought to allocate liabilities

between the prepetition and post-petition periods based on the information and research

conducted in connection with the preparation of the Schedules and Statements. As additional

information becomes available and further research is conducted, the allocation of liabilities

between the prepetition and post-petition periods may change. The liabilities listed on the

Schedules do not reflect any analysis of Claims under 11 U.S.C. § 503(b)(9). Accordingly, the

Debtors reserve all of their rights to dispute or challenge the validity of any asserted Claims

under 11 U.S.C. § 503(b)(9) or the characterization of the structure of any such transaction or

any document or instrument related to any creditor’s Claim.

          5.           Intellectual Property Rights. The exclusion of any intellectual property rights or

interests shall not be construed as an admission that such intellectual property rights or interests

have been abandoned, terminated, assigned, expired by their terms, or otherwise transferred

pursuant to a sale, acquisition, or other transaction. Conversely, inclusion of certain intellectual

property rights or interests shall not be construed to be an admission that such intellectual

property rights or interests have not been abandoned, terminated, assigned, expired by their

terms, or otherwise transferred pursuant to a sale, acquisition, or other transaction.



                                                        5

4858-2631-4076, v. 1
               Case 6:23-bk-04797-TPG            Doc 97    Filed 12/11/23    Page 46 of 52




          In addition, although the Debtors have made diligent efforts to attribute intellectual

property rights or interests to the rightful Debtor entity, in certain instances, intellectual property

rights or interests of one Debtor may, in fact, be held or owned by another Debtor. Accordingly,

the Debtors reserve all of their rights with respect to the legal status of any and all such

intellectual property rights or interests.

          6.           Executory Contracts and Unexpired Leases. Although the Debtors made

diligent attempts to attribute executory contracts and unexpired leases to their rightful Debtors, in

certain instances, the Debtors may have inadvertently failed to do so due to the complexity and

size of the Debtors’ businesses.

          7.           Materialman’s/Mechanic’s Liens. The assets listed in the Schedules and

Statements are presented without consideration of any materialman’s or mechanic’s liens.

          8.           Classifications. Listing a Claim or contract on (a) Schedule D as “secured,” (b)

Schedule E/F part 1 as “priority,” (c) Schedule E/F part 2 as “unsecured,” or (d) Schedule G as

“executory” or “unexpired,” does not constitute an admission by the Debtors of the legal rights

of the claimant, or a waiver of the Debtors’ rights to recharacterize or reclassify such Claims or

contracts or leases or to setoff of such Claims.

          9.           Claims Description. Schedules D and E/F permit each Debtor to designate a

Claim as “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on a

given Debtor’s Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not

constitute an admission by that Debtor that such amount is not “disputed,” “contingent,” or

“unliquidated,” or that such Claim is not subject to objection. Moreover, listing a Claim does not

constitute an admission of liability by the Debtors.




                                                       6

4858-2631-4076, v. 1
                Case 6:23-bk-04797-TPG           Doc 97    Filed 12/11/23    Page 47 of 52




          10.          Causes of Action. Despite their reasonable efforts to identify all known assets,

the Debtors may not have listed all of their causes of action or potential causes of action against

third-parties as assets in the Schedules and Statements, including, without limitation, causes of

actions arising under the provisions of chapter 5 of the Bankruptcy Code and any other relevant

non-bankruptcy laws to recover assets or avoid transfers. The Debtors reserve all of their rights

with respect to any cause of action (including avoidance actions), controversy, right of setoff,

cross-Claim, counter-Claim, or recoupment and any Claim on contracts or for breaches of duties

imposed by law or in equity, demand, right, action, lien, indemnity, guaranty, suit, obligation,

liability, damage, judgment, account, defense, power, privilege, license, and franchise of any

kind or character whatsoever, known, unknown, fixed or contingent, matured or unmatured,

suspected or unsuspected, liquidated or unliquidated, disputed or undisputed, secured or

unsecured, assertable directly or derivatively, whether arising before, on, or after the Petition

Date, in contract or in tort, in law, or in equity, or pursuant to any other theory of law

(collectively, “Causes of Action”) they may have, and neither these Global Notes nor the

Schedules and Statements shall be deemed a waiver of any Claims or Causes of Action or in any

way prejudice or impair the assertion of such Claims or Causes of Action.

          11.          Global Notes Control. If the Schedules and Statements differ from these Global

Notes, these Global Notes shall control.




                                                       7

4858-2631-4076, v. 1
              Case 6:23-bk-04797-TPG          Doc 97    Filed 12/11/23   Page 48 of 52




                       Specific Disclosures with Respect to the Debtors’ Schedules

          Schedule A/B Part 2 Question 8. Amounts shown as “Prepaid Other” on any of the

Debtors’ Schedules are an aggregate amount of prepaid expenses for the respective Debtor.

Additionally information regarding the precise pre-payments with a specific entity are available

upon request.

          Schedules A/B 15. Ownership interests in subsidiaries have been listed in Schedules A/B

15 as an “undetermined” amount because the fair market value of such ownership is dependent

on numerous variables and factors and likely differs significantly from their net book value.

          Schedule A/B Part 10 Question 62. The Debtors have listed their interests in licenses

and franchises in Schedule A/B Part 10 Question 62. A list of franchise agreements is included

in the attachment to Schedule G.

          Schedule A/B Part 11 Questions 74 & 75. In the ordinary course of their businesses, the

Debtors may have accrued, or may subsequently accrue, certain rights to counter-Claims, setoffs,

refunds, or potential warranty Claims against their landlords and/or vendors. Additionally,

certain of the Debtors may be a party to pending litigation in which the Debtors have asserted, or

may assert, Claims as a plaintiff or counter-Claims as a defendant. Accordingly, certain claims

are potentially unknown to the Debtors, and by their nature not quantifiable as of the Petition

Date. Accordingly, they are not listed on Schedule A/B Part 11 Questions 74 & 75. The Debtors’

failure to list any contingent and/or unliquidated claim held by the Debtors in response to these

questions shall not constitute a waiver, release, relinquishment, or forfeiture of such claim.

          Schedule E/F. The Debtors have included as contingent priority Claims certain pre-

petition employee wage claims. Such Claims represent earned, but unpaid pre-petition, wage

claims which the Debtor has received court authority to pay pursuant to the Court’s Order



                                                    8

4858-2631-4076, v. 1
              Case 6:23-bk-04797-TPG       Doc 97      Filed 12/11/23   Page 49 of 52




Granting Debtors’ Emergency Motion for Authorization to Pay Prepetition Wages, Salaries, and

Other Employee Benefits (Doc. No. 59) (“Wage Order”). Such amounts are intended to be paid

in the ordinary course of the Debtors’ businesses pursuant to the Wage Order, but have been

listed in an abundance of caution.

          The Debtors have used reasonable efforts to report all general unsecured Claims against

the Debtors on Schedule E/F Part 2, based upon the Debtors’ books and records as of the Petition

Date. Determining the date upon which each Claim on Schedule E/F Part 2 was incurred or arose

would be unduly burdensome and cost prohibitive and, therefore, the Debtors do not list a date

for each Claim listed on Schedule E/F Part 2. Furthermore, Claims listed on Schedule E/F Part 2

may have been aggregated by unique creditor name and remit to address and may include several

dates of incurrence for the aggregate balance listed. Further, under the Debtors’ existing and

former Workers Compensation insurance policies, outstanding and incurred but not yet reported

claims may exist and are not listed on Schedule E/F.

          Schedule E/F may include the prepetition amounts owing to counterparties to executory

contracts and unexpired leases. Such prepetition amounts, however, may be paid in connection

with the assumption, or assumption and assignment, of executory contracts or unexpired leases.

Additionally, Schedule E/F Part 2 does not include potential rejection damage Claims, if any, of

the counterparties to executory contracts and unexpired leases that may be rejected.

          Schedule G. Certain information, such as the expiration date of various executory

contracts and leases, and contact information of the counter-party, may not be included where

such information could not be obtained with a sufficient level of certainty using the Debtors’

reasonable efforts. Listing or omitting a contract or agreement on Schedule G does not constitute

an admission that such contract or agreement is or is not an executory contract or unexpired lease



                                                 9

4858-2631-4076, v. 1
              Case 6:23-bk-04797-TPG       Doc 97     Filed 12/11/23     Page 50 of 52




was in effect on the Petition Date or is valid or enforceable. Certain leases and contracts listed on

Schedule G may contain certain renewal options, guarantees of payment, indemnifications,

options to purchase, rights of first refusal, and other miscellaneous rights. Such rights, powers,

duties, and obligations are not set forth separately on Schedule G. Certain of the contracts and

agreements listed on Schedule G may consist of several parts, including amendments,

restatements, waivers, letters, and other documents that may not be listed on Schedule G or that

may be listed as a single entry. In some cases, the same supplier or provider appears multiple

times on Schedule G. This multiple listing is intended to reflect distinct agreements between the

applicable Debtor and such supplier or provider. The Debtors expressly reserve their rights to

challenge whether such related materials constitute an executory contract, a single contract or

agreement or multiple, severable, or separate contracts. The contracts, agreements, and leases

listed on Schedule G may have expired or may have been modified, amended, or supplemented

from time to time by various amendments, restatements, waivers, estoppel certificates, letters,

memoranda, and other documents, instruments, and agreements that may not be listed therein

despite the Debtors’ use of reasonable efforts to identify such documents. Further, unless

otherwise specified on Schedule G, each executory contract or unexpired lease listed thereon

shall include all exhibits, schedules, riders, modifications, declarations, amendments,

supplements, attachments, restatements, or other agreements made directly or indirectly by any

agreement, instrument, or other document that in any manner affects such executory contract or

unexpired lease, without respect to whether such agreement, instrument, or other document is

listed thereon. In addition, the Debtors may have entered into various other types of agreements

in the ordinary course of their businesses, such as subordination, non-disturbance, and

attornment agreements, supplemental agreements, settlement agreements, amendments/letter



                                                 10

4858-2631-4076, v. 1
              Case 6:23-bk-04797-TPG       Doc 97      Filed 12/11/23     Page 51 of 52




agreements, title agreements and confidentiality agreements. Such agreements may not be set

forth on Schedule G. Certain of the executory agreements may not have been memorialized and

could be subject to dispute. Executory agreements that are oral in nature have not been included

on the Schedule G.

          Schedule H. For purposes of Schedule H, the Debtors have not listed other Debtors as

Co-Debtors, as such information is reflected on the applicable Debtor’s Schedules.

          Specific note as to Debtors 7SMF, 9SMF and 10SMF Schedule A/B Part 1 Question

3. In the ordinary course of business, 7SMF, 8SMF, and 10SMF all shared a single bank account.

Therefore, the response to Part 1 Question 3 reflects the aggregate amount of funds in the single

account, and is not specific to each Debtor.

        Specific Disclosures with Respect to the Debtors’ Statements of Financial Affiars

          Part 3 Statement 7. Information provided in Statement 7 may not include every legal

action, administrative agency proceeding (including administration of worker compensation

insurance claims), court action, execution, attachment or governmental audit open or closed

during the relevant time period, as proceedings are quickly dismissed or settled for a nominal

sum. Additionally, any information contained in Statement 7 shall not be a binding

representation of the Debtors’ liabilities with respect to any of the suits and proceedings

identified therein.

          Part 13 Statement 26(d).      The Debtors provide financial statements to financial

institutions, creditors, and other parties in the ordinary course of its business and providing a list

of each of the foregoing who may have received a financial statement over the prior two years is

unfeasible.




                                                 11

4858-2631-4076, v. 1
              Case 6:23-bk-04797-TPG    Doc 97    Filed 12/11/23    Page 52 of 52




          Specific note as to Debtors 7SMF, 9SMF and 10SMF Part 2 Statement 3. Due to the

shared bank account used by the 7SMF, 9SMF, and 10SMF in the ordinary course of business,

the JV Debtors were unable to disaggregate transactions made by the JV Debtors within 90 days

before the Petition Date. To attempt to disaggregate the transactions withing the 90 days

preceding the Petition Date would take an inordinate amount of time and expense, requiring a

complete forensic recreation of transaction history of 7SMF, 9SMF and 10SMF which was not

feasible.

Dated: December 11, 2023.

                                          Respectfully submitted,

                                          /s/ Scott A. Underwood
                                          Thomas M. Messana
                                          Florida Bar Number 991422
                                          Scott A. Underwood
                                          Florida Bar Number 730041
                                          Daniel E. Etlinger
                                          Florida Bar Number 77420
                                          UNDERWOOD MURRAY, P.A.
                                          100 N Tampa, Ste. 2325
                                          Tampa, FL 33602
                                          (813) 540-8401
                                          Email: tmessana@underwoodmurray.com
                                                  sunderwood@underwoodmurray.com
                                                  detlinger@underwoodmurray.com
                                          Proposed Counsel to the Debtors




                                             12

4858-2631-4076, v. 1
